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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                  NORTHERN DIVISION

                                                   :
Robert Silbaugh,                                   :
                                                     Civil Action No.: ______
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
Credit Acceptance Corporation; and                 :
                                                     COMPLAINT
DOES 1-10, inclusive,                              :
                                                   :
                                                   :
                        Defendants.                :



                For this Complaint, the Plaintiff, Robert Silbaugh, by undersigned counsel, states

as follows:


                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and their agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.


                                             PARTIES

        4.      The Plaintiff, Robert Silbaugh (“Plaintiff”), is an adult individual residing in

Mount Airy, Maryland, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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       5.      Defendant, Credit Acceptance Corporation (“CAC”), is a Missouri business entity

with an address of 25505 West 12 Mile Road, Southfield, Missouri 48034-8316, operating as a

collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by CAC and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      CAC at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


       8.      A financial obligation (the “Debt”) to a creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to CAC for collection, or CAC

was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


   B. CAC Engages in Harassment and Abusive Tactics


       12.     CAC and the Plaintiff entered into an agreement regarding the Debt.

       13.     The agreement stated that the Plaintiff would pay the Debt in full, and CAC

would thereafter take the account off the Plaintiff’s credit report.

       14.     After the Plaintiff paid the Debt in full, CAC listed the account as “settled” on the

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Plaintiff’s credit report.

        15.     After the Plaintiff contacted CAC and requested CAC remove the account from

his credit report as agreed, CAC failed to remove the account from his credit report.


    C. Plaintiff Suffered Actual Damages


        16.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

        17.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, fear, frustration and

embarrassment.

        18.     The Defendants’ conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.


                                     COUNT I
                    VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

        19.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        20.     The Defendants’ conduct violated 15 U.S.C. § 1692e(2) in that Defendants

misrepresented the character, amount and legal status of the Debt.

        21.     The Defendants’ conduct violated in that Defendants communicated false credit

information, in violation of 15 U.S.C. § 1692e(8).

        22.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

        23.     The Defendants’ conduct violated 15 U.S.C. § 1692f(1) in that Defendants

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attempted to collect an amount not authorized by the agreement creating the Debt.

       24.     The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       25.     The Plaintiff is entitled to damages as a result of Defendant’s violations.


                              COUNT II
     VIOLATIONS OF THE MARYLAND CONSUMER DEBT COLLECTION ACT
                   MD. CODE COMM. LAW § 14-201, et seq.

       26.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       27.     The Defendants are each individually a “collector” as defined under MD. Code

Comm. Law § 14-201(b).

       28.     The debt is a “consumer transaction” as defined under MD. Code Comm. Law

§ 14-201(c).

       29.     The Defendants disclosed or threatened to disclose information affecting the

Plaintiff’s reputation for creditworthiness, in violation of MD. Code Comm. Law § 14-202(3).

       30.     The Plaintiff is entitled to damages proximately caused by the Defendants’

violations.


                                  COUNT III
               INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       31.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       32.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be


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highly offensive to a reasonable person.”

       33.     Maryland further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendants violated Maryland state law.

       34.     The Defendants intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff by falsely reporting information on his credit report.

       35.     The conduct of the Defendants in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       36.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from the Defendants.


                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendants;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A)

                       against the Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against the Defendants;

                   4. Actual damages pursuant to MD. Code Comm. Law § 14-203;

                   5. Actual damages pursuant to MD. Ann. Code. Bus. Reg. § 7-401(b);

                   6. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                   7. Actual damages from the Defendants for the all damages including

                       emotional distress suffered as a result of the intentional, reckless, and/or

                       negligent FDCPA violations and intentional, reckless, and/or negligent


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                    invasions of privacy in an amount to be determined at trial for the Plaintiff;

                    and

                 8. Such other and further relief as may be just and proper.

                    TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: September 22, 2010

                                            Respectfully submitted,

                                            By_/s/ Forrest E. Mays_________

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